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1
          LAW OFFICES OF
2     CHRISTOPHER H. WING
     2701 DEL PASO ROAD, SUITE 130 #45
3       SACRAMENTO, CA 95835
               State Bar #063214

4
     ATTORNEYS FOR:         Defendant
5

6                                   IN THE UNITED STATES DISTRICT COURT

7                                  FOR THE EASTERN DISTRICT OF CALIFORNIA

8
     UNITED STATES OF AMERICA
9
                                      Plaintiff,
                                                    No.   2: 10-cr-00517 KJM
10
          v.
11                                                  ORDER EXONERATING BAIL,
                                                    RECONVEYANCE OF DEED OF
12   HENRY KHENG HO                                 TRUST AND RETURN OF CASHIER’S
                                    Defendant,      CHECK TO QUI KHANG THACH
13

14
            The Defendant, HENRY KHENG HO, having been sentenced and surrendered in a
15
     timely manner, and with good cause appearing:
16

17          IT IS ORDERED THAT:

18
            The Deed of Trust previously posted as security in this matter is hereby exonerated
19
     and the Clerk of the Court or a designee is directed forthwith to exonerate the bail posted in
20
     this matter as noted in Docket Number 16, filed on December 21, 2010; i.e., real property
21
     located at 8345 Alpine Laurel, Sacramento California, 95829 and to return the $150,000.00
22   posted with the Clerk’s Office in Cashier’s Check 614000463 from EastWest Bank, to Qui
23   Khang Tach at the Alpine Laurel address.
24
            Dated: June 12, 2014
25

26

27                                                     UNITED STATES DISTRICT JUDGE

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